   Case 07-79793-mhm     Doc 17   Filed 12/12/07 Entered 12/12/07 12:36:00   Desc
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                                                                   FRAZIEGA0374

                       IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION


IN RE: CAROL FRAZIER                    :   CHAPTER: 7
                                        :
                                        :
                                        :   BANKRUPTCY NO: 07-79793-MHM


              REQUEST OF CREDITOR PURSUANT TO BANKRUPTCY RULE 2002(g)
                           PROVIDING ADDRESS FOR SERVICE
                                    OF NOTICES


To the Clerk:

    1.   This request is filed pursuant to Bankruptcy Rule 2002(g)

for the purpose of ensuring that the creditor listed below

receives all notices required to be mailed under Bankruptcy Rule 2002

at the address below.

    2.   The address to which all such notices should be sent and

substituted for that of the creditor:

                             American Express Bank FSB
                             c/o Becket and Lee LLP
                             POB 3001
                             Malvern PA 19355-0701




                                  By:   /s/Gilbert  B. Weisman
                                        __________________________________
                                         Gilbert B Weisman Esquire PA59872
                                         Becket and Lee LLP Attorneys Agent
                                         POB 3001
                                         MALVERN PA 19355-0701
                                         PHONE:    (610) 644-7800
                                         FAX :     (610) 993-8493
                                         EMAIL:    notices@becket-lee.com

                                            DATE: December 12, 2007

    PET: 11/28/2007



                                        FSB
